&lt;div class="content"&gt;
    &lt;div class="html-children"&gt;
        &lt;div&gt;&lt;header&gt;&lt;p id="Page" data-paragraph-id="35c0804c86"&gt; 1 &lt;/p&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="d0868dc8ea"&gt;&lt;span data-sentence-id="0fc472bd9d" quote="false" data-paragraph-id="d0868dc8ea"&gt; Board of Trustees of the Town of Del Norte and Town of Del Norte, Petitioners &lt;br /&gt; v.&lt;/span&gt;&lt;span data-sentence-id="4949fbe464" quote="false" data-paragraph-id="d0868dc8ea"&gt; &lt;br /&gt; Laura Anzalone, former Trustee of the Town of Del Norte.&lt;/span&gt; Respondent &lt;/p&gt;&lt;p data-paragraph-id="e6b849db7b"&gt;No. 24SC215&lt;/p&gt;&lt;p data-paragraph-id="2fefc1cee8"&gt;&lt;span data-sentence-id="2fefc1cee8" quote="false" data-paragraph-id="2fefc1cee8"&gt;Supreme Court of Colorado, En Banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="4afc352e0c"&gt;July 22, 2024&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="e2c7ead552"&gt;&lt;span data-sentence-id="5f21ad5397" quote="false" data-paragraph-id="e2c7ead552"&gt; Court of Appeals Case No. 22CA2181 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="5206077a6e"&gt;&lt;span data-sentence-id="70dfb4add5" quote="false" data-paragraph-id="5206077a6e"&gt; Petition for Writ of Certiorari DENIED.&lt;/span&gt; &lt;/p&gt;&lt;/div&gt;
    &lt;/div&gt;
&lt;/div&gt;